Case 1: 03- -C\/- 01227- .]DB- -tmp Document 34 Filed 05/06/05 Page 1 of 3 Page|D 63

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IN THE UNITED STATES DISTRICT COUR'US 4 \ D.C
FOR THE WESTERN DISTRICT OF TENNESSE'SI:§” y "6' ph
EASTERN DIVISION 90 UE! 3' 48
CLE‘~],£( C fbi l.}/ j'pOL/O
WD. U~'Z` r_§ ""S D/S S[L C
DAYTHAN HoUSER, » . LQCKSONI
Plaintiff,
v. No. 03-1227-B/P

CORRECTIONS CORPORATION OF
AMERICA, et al.,

Defendants.

 

ORDER OF REFERENCE

 

The above matter is hereby referred to Magistrate Judge Tu Pham for all discovery and
non-dispositive motions presently pending and/or filed during the course of this litigation

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IT rs so 0RDERED this é§ day of May, 2005.

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J. DANIEL BREEN
NI ED STATES DISTRICT JUDGE

 

 

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l document entered on the docket sheet in compliance
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Honorable .1. Breen
US DISTRICT COURT

